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                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Tyler W. Parkison, a law enforcement officer with the Drug Enforcement

Administration (“DEA”), being duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

       1.      This affidavit is offered in support of a request for a criminal complaint and arrest

warrant for Jonathan P. JOHNSON, for a violation of federal law that took place on or about

April 23, 2025, in Cuyahoga County and the Northern District of Ohio, namely, Possession with

Intent to Distribute a Controlled Substance, in violation of 21 U.S.C. §§ 841(a)(1).

                         AFFIANT TRAINING AND EXPERIENCE

       2.       I am an investigative law enforcement officer as a Special Agent of the Drug

Enforcement Administration (“DEA”). As such, I am empowered to conduct investigations of

and to make arrests for offenses enumerated in Titles 18 and 21 of the United States Code.

       3.      I have been employed with the DEA for over 20 years, becoming a Special Agent

in 2008. I am currently assigned to the Cleveland District Office. I attended and graduated from

DEA Basic Agent Training at the DEA Training Academy located in Quantico, Virginia in

December of 2008. During this training, I received comprehensive, formalized instruction in

matters such as drug identification, detection, money laundering techniques, and asset

identification, seizure, and forfeiture. Prior to my employment as a DEA Special Agent, I

worked as a DEA Diversion Investigator. In my capacity as a DEA Special Agent, I investigate

federal drug and money laundering offenses under Titles 18 and 21 of the United States Code.

During my career, I have been lead investigator or have participated in many criminal

investigations involving violations of the Controlled Substance Act. I have also assisted several




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investigations that involved the monitoring and recording of court-authorized Title III

interceptions.

       4.        The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested criminal complaint and

does not set forth all of my knowledge about this matter.

                             FACTS ESTABLISHING PROBABLE CAUSE

                                  Background on Pill-Pressing Operations

       5.        I know from my own training and experience and from discussions with other

investigators that an increasingly common way for drug traffickers to package and sell controlled

substances is in tablet/pill form. For example, it is common to see fentanyl pressed into a tablet

form to make it look identical to a blue colored oxycodone 30 mg tablet. It is also increasingly

common to see methamphetamine pressed into a tablet form to make it look identical to ecstasy

tablets. The main tools used to manufacture these types of illicit tablets are: (1) controlled

substances in powder form, (2) a binding agent that is mixed with the controlled substance to

harden it, and (3) a pill press machine that stamps the mixture into a uniform looking tablet.

Generally speaking, pill press machines and binding agents are legally available to the public and

can be ordered online.

       6.        I have investigated cases involving drug traffickers who use a pill press to illicitly

manufacture M30 fentanyl pills and methamphetamine pills that look like ecstasy. I know that

pill presses can make hundreds of these tablets at a time. I also know that, except for companies

that manufacture legal pharmaceuticals, there are very few legitimate uses for pill presses. As

indicated above, pill presses are used to make very large quantities of tablets at a time.


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            Initial Identification of Jonathan JOHNSON after he Orders a $1,564 Manual
                           Desktop Tablet Press and a Kilogram of Firmapress.
       7.      On November 30, 2023, a representative from LFA Machines DFW LLC, 955

North Sylvania, Fort Worth, Texas 76111 submitted information regarding the sale of a desktop

tablet press to DEA via form 452 under transaction ID: NG6ETA2-1 as required by the Code of

Federal Regulations Sections 1310.03 and 1310.05. Based on review of business records

provided pursuant to legal process, the following information was present on the 452 forms.

            a. LFA Machines sold a manual desktop tablet press (Make: LFA Machines Taiwan

               Limited, Model: TDP 0, serial number ACBA22BF99) to Jonathan JOHNSON

               (hereinafter referred to as J.JOHNSON) at 10502 Dove Avenue, Cleveland, Ohio

               44105, Phone number: (440) 538-4330, email: Bravo30times@gmail.com. The

               mode of transport was via FedEx Mail. In the purpose/need section it listed the

               reason for purchase of the tableting machine as "Vitamin EVitamin e Biotin

               Keratin Collagen LFA BINDER".

       8.      From reviewing LFA’s website, investigators found the same make/model pill

press for sale. A recent screenshot of that pill press on LFA’s website is copied below:




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       9.      On March 12, 2025, a DEA administrative subpoena was submitted to a

representative of LFA Machines seeking additional information regarding the sale of the tablet

press to J.JOHNSON, and information about any other purchases made by J.JOHNSON from

LFA Machines. On March 13, 2025, a representative of LFA Machines provided the following

information as requested by the subpoena.

            a. The information included a copy of a Due Diligence Form for the sale of the

               tablet press to J.JOHNSON. The form was dated November 28, 2023 and was

               electronically signed by J.JOHNSON. The form listed J.JOHNSON'S address as

               10502 Dove Avenue with a telephone number of 216-387-7939 and email address

               Bravo30times@gmail.com. It also listed J.JOHNSON'S company name as

               "Young imagination", and J.JOHNSON'S position as the owner. A copy of

               J.JOHNSON'S State of Ohio Driver's License was attached to the form.

            b. A payment image received from LFA Machines showed on November 27, 2023,

               J.JOHNSON utilized a Mastercard debit card ending in 1259 issued by
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                Huntington National Bank to pay $1,564.09 to LFA Machines for the purchase of

                the tablet press. In the shipping section, the recipient was listed as Jonathan

                Johnson at 10502 Dove Avenue, Cleveland, Ohio 44105 with telephone number

                440-538-4330.

             c. In addition to the sale of the tablet press to J.JOHNSON, the spreadsheet showed

                that on June 16, 2023, J.JOHNSON purchased 1 kilogram of green colored

                Firmapress from LFA for $82.50. Firmapress is a pill binding agent utilized in the

                manufacturing of tablets. The spreadsheet showed the order was processed on

                June 16, 2023. J.JOHNSON'S address for this purchase was listed as 10502 Dove

                Avenue, Cleveland, Ohio 44105 with telephone number 440-538-4330. A

                payment image for this purchase showed J.JOHNSON utilized a Visa Prepaid

                Card ending in 8672 with an expiration date of January 2029 issued by Sutton

                Bank for the purchase. In the shipping section, the recipient was listed as John

                Johnson at 10502 Dove Avenue, Cleveland, Ohio 44105 with telephone number

                440-538-4330.

       10.      According to the Ohio Secretary of State's website, Young Imaginations Limited

Liability Company (the business I believe J.JOHNSON was referencing on the purchase

documents for J.JOHNSON'S tablet press, which J.JOHNSON claimed to be the owner of) was

incorporated effective July 21, 2018 as a Domestic Non-Profit LLC and is still active. According

to the Articles of Incorporation, the purpose of the business is "YOUNG IMAGINATIONS IS A

YOUTH ORGANIZATION FORMED TO HELP URBAN COMMUNITIES WITH GROWTH

PROBLEMS THROUGH ENTERTAINMENT CREATIVITY EDUCATION AND

MENTORING SERVICES." The statutory agent is listed as Jovonne W. Smith of 3614 E. 46th


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Street, Cleveland, Ohio 44105. On May 31, 2017, the trade name of Young Imaginations was

registered with the Ohio Secretary of State by Jovonne Smith. Young Imaginations was also

incorporated by Jovonne Smith on May 31, 2017 as a Nonprofit Domestic

Corporation. According to the Articles of Incorporation documents filed with the Ohio Secretary

of State, the purpose for which the corporation was formed was "Young imaginations is small

organization in Cleveland Ohio with a goal to help redirect the negative views of the community

to help the youth learn education morals, to stay goal oriented with fun character entertainment

and interaction. With a goal to go to different communities helping the youth with their visions

and dreams to create and innovate with imagination and hard work help cheer and put smiles on

the children faces using sports, reading." Jonathan JOHNSON and Clarence Payne were listed

on the trade name filed paperwork as being general partners of the business. The Young

Imaginations registered trade name and Nonprofit Domestic Corporation filed on May 31, 2017,

and expired on May 31, 2022, and is only still active currently under the Young Imaginations

Limited Liability Company. Investigators did not uncover any information indicating that the

Young Imaginations Limited Liability Company was involved in making vitamins.

       11.     On March 18, 2025, I reviewed the public Facebook account of J.JOHNSON,

Facebook ID number 100006741768127. In the "Intro" section there was a link called

youngimaginationcle.party present. When I clicked on the link, an internet website opened titled,

"Welcome to Young Imaginations!". The website was advertising the rental of inflatable bounce

houses for parties for children. Also, in the "Intro" section of J.JOHNSON'S Facebook account it

stated, "Large inflatables available starting at just $200 for all day rental combos get 2 for only

$350". When reviewing public social media accounts utilized by J.JOHNSON, investigators did




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not identify any information indicating J.JOHNSON was making and/or selling vitamins, which

appeared to be the reason J.JOHNSON listed for the purpose of buying the tablet press.

                        Initial Identification of Terry JOHNSON After he Orders
                                    20 kgs of Firmapress via Amazon.
       12.      On March 12, 2025, the DEA Cleveland D.O. TDS Group electronically received

Amazon records for sales of Firmapress that were affiliated to J.JOHNSON and Terry G.

JOHNSON from DEA's Chemical Investigation Section. Firmapress is a pill binding agent

utilized in the manufacturing of tablets. The records were in Microsoft Excel format. DEA's

Chemical Investigation Section received the records from Amazon pursuant to a 2703(d) Order

issued out of the Eastern District of Virginia. The records showed Terry G. JOHNSON,

hereinafter referred to as T.JOHNSON, purchased the following amounts of Firmapress.

             a. On December 17, 2024, T.JOHNSON ordered 1 kg of yellow, 1 kg of orange, 1

                kg of blue, and 1 kg of baby blue Firmapress. The items were shipped

                on December 18, 2024. The IP address listed for the purchase of each of the

                items was 2600:387:15:1b35::7. The total cost for the Firmapress items was

                $327.19.

             b. On December 22, 2024, T.JOHNSON ordered 1 kg of pink, 1 kg of green, 1 kg of

                yellow, 1 kg of white, 1 kg of red, 1 kg of orange, 1 kg of blue, and 2 kg of baby

                blue Firmapress. The yellow, white, and baby blue Firmapress items were

                shipped on December 23, 2024, the pink, red, and blue Firmapress items were

                shipped on December 27, 2024, and the green and orange Firmapress items were

                shipped on January 12, 2025. The IP address listed for the purchase of each of the

                items was 2603:6011:8f0:ba50:f15f:8b81:5100:6255. The total cost for the

                Firmapress items was $717.01.


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             c. On February 7, 2025, T.JOHNSON ordered 1 kg of yellow, and 1 kg of blue

                Firmapress. The Firmapress items were shipped on February 8, 2025. The IP

                address listed for the purchase of each of the items was 2600:387:15:1b33::2. The

                total cost for the Firmapress items was $177.09.

             d. On February 8, 2025, T.JOHNSON ordered 1 kg of yellow, 1 kg of white, 1 kg of

                blue, and 2 kg of baby blue Firmapress. The Firmapress items were shipped on

                February 9, 2025. The IP address listed for the purchase of each of the items

                was 2603:6011:8f0:5b10:1fe:ea57:6c4a:82f9. The total cost for the Firmapress

                items was $436.28.

       13.      The following is true for each of the Firmapress items purchased by T.

JOHNSON. All of the Firmapress items were shipped via Amazon to T.JOHNSON at 291 E.

208th Street, Euclid, Ohio 44123 (hereafter referred to as Target Location) with phone number

216-296-2492. In the billing section, T.JOHNSON was listed with an address of 10502 Dove

Avenue, Cleveland, Ohio 44105 and phone number 216-296-2492. The items were paid for with

a Visa credit card in the name of Johnathan JOHNSON ending in 8672 with an expiration date of

January 2029. Email address johnsonterry216216@gmail.com was listed for T.JOHNSON. The

Firmapress was listed in the records as a Firmapress pill binder mixing powder for a tablet press

machine, and described as an all-in-one pharmaceutical-grade pill binding excipient.

       14.      In total, in less than two months, 20 kilograms of Firmapress was ordered by

T.JOHNSON that was paid for with J.JOHNSON’S credit card and shipped to the Target

Location. Even though T.JOHNSON ordered the Firmapress, investigators have not discovered

any information showing T.JOHNSON being affiliated with the Target Location. Based on my

experience and when conferring with other investigators, this is an extremely large amount of


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Firmapress to purchase in such a short time frame. Through extrapolation it is estimated with 20

kilograms of Firmapress an individual could make approximately 200,000 illicit tablets.

       15.     On March 18, 2025, when reviewing the public Facebook account of

J.JOHNSON, Facebook ID number 100006741768127, one of J.JOHNSON'S friends listed on

his Facebook Account was the Facebook Account titled "Terrytg Toogood Johnson" with

Facebook ID name "terry.m.johnson1". I reviewed the public portion of this Facebook account,

and observed that it was utilized by Terry Glenn JOHNSON.

       16.     Based on queries through CLEAR, an investigative tool that provides access to

multiple proprietary and public records and that has proven reliable in previous investigations,

Terry Glenn JOHNSON is affiliated with telephone number 216-296-2492. An administrative

subpoena was issued to AT&T by investigators seeking subscriber information and call records

for telephone number 216-296-2492 (the phone number listed for T.JOHNSON’S purchase of the

20 kgs of Firmapress). The subpoenaed records showed the account became active on December

15, 2022, but listed no subscriber information. Analysis of the call records showed that

telephone number 216-296-2492 (T.JOHNSON) and telephone number 440-538-4330 (the phone

number affiliated to J.JOHNSON) had multiple call interactions on each day of the days that

T.JOHNSON placed orders for Firmapress (December 17, 2024, December 22, 2024, February 7,

2025, and February 8, 2025). An administrative subpoena was issued to Charter

Communications by investigators seeking subscriber information for telephone number 440-538-

4330. The subpoenaed records showed telephone number 440-538-4330 was subscribed to India

Robinson at the Target Location.

       17.     On March 28, 2025, subpoenaed records were received from Charter

Communications regarding the IP addresses recorded by Amazon for the purchases of


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Firmapress made by T.JOHNSON on the dates of December 22, 2024 (IP Address

2603:6011:8f0:ba50:f15f:8b81:5100:6255) and February 8, 2025 (IP Address

2603:6011:8f0:5b10:1fe:ea57:6c4a:82f9). The records showed both of the IP addresses were

assigned to the Charter Communications Account registered to Johnette Williams at 4357

Torwood Court, Cleveland, Ohio 44109 with telephone number 216-399-4570.

       18.     Subpoenaed records for telephone number 216-296-2492 indicate that during the

time period of January 9, 2025 to March 11, 2025, telephone number 216-296-2492 had the

highest volume of call/text interactions (603) with telephone number 216-468-4740. Based on a

query through CLEAR, telephone number 216-468-4740 is affiliated to Shadeena M. Tate at

4357 Torwood Court, Cleveland, Ohio 44109. Records from the Ohio Bureau of Motor Vehicles

show that Tate’s current State of Ohio driver’s license was issued on August 2, 2022. Tate’s

address is listed as 4357 Torwood Court, Cleveland, Ohio 44109. On the dates of March 25,

2025, March 26, 2025, and March 27, 2025, investigators observed a light blue colored SUV

with Ohio temporary license plate number T385857 parked in the driveway for the residence

located at 4357 Torwood Court, Cleveland, Ohio 44109. Ohio temporary license plate number

T385857 is registered as a blue colored Subaru to Shadeena Tate at 4357 Torwood Court,

Cleveland, Ohio 44109. On March 27, 2025, an investigator observed a white colored Dodge

Journey with Ohio license plate number KBA2842 parked on the street west of the residence at

4357 Torwood Court. Ohio license plate number KBA2842 expired on June 23, 2023. It was

registered as a white colored 2017 Dodge Journey to T.JOHNSON at 5273 Knollwood Drive,

Apartment 5, Cleveland, Ohio 44129.

       19.     Based on the subpoenaed IP address information, telephone number 216-296-

2492’s high volume of call/text interactions with telephone number 216-468-4740 believed to be


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utilized by Tate, and the presence of T.JOHNSON’S Dodge Journey near 4357 Torwood Court,

Cleveland, Ohio 44109, I believe on the dates of December 22, 2024 and February 8, 2025

T.JOHNSON was at 4357 Torwood Court, Cleveland, Ohio 44109 when placing the Firmapress

orders.

            Jonathan JOHNSON’S affiliation to 291 E. 208th Street, Euclid, Ohio (the Target
                      Location) where the 20 kgs of Firmapress was shipped to.

          20.    Records from the Ohio Bureau of Motor Vehicles show that J.JOHNSON’s

current State of Ohio driver’s license was issued on March 14, 2024. J.JOHNSON’s address is

listed as 291 E. 208th Street, Euclid, Ohio 44123, the Target Location.

          21.    On March 18, 2025, DEA investigators performed surveillance of the residence

located at the Target Location. At approximately 4:38 p.m., an investigator observed a light blue

colored Mitsubishi SUV with Ohio license plate number HVF5495 arrive at the residence and

park in the driveway. At approximately 4:40 p.m., the investigator observed an unknown

juvenile female exit from the passenger side of the SUV, and J.JOHNSON exit from the front

driver’s side of the SUV. The investigator observed J.JOHNSON and the unknown female enter

the residence through the front door. Ohio license plate number HVF5495 is registered as a blue

colored 2011 Mitsubishi Outlander Sport to India C. Robinson at 291 E. 208 th Street, Euclid,

Ohio 44123, the Target Location. Records from the Ohio Bureau of Motor Vehicles show that

Robinson’s current State of Ohio driver’s license was issued on March 25, 2025, and her address

is listed as 291 E. 208th Street, Euclid, Ohio 44123, the Target Location. Based on public social

media posts, it appears J.JOHNSON and Robinson are in a relationship and have been for at least

several years.




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       22.     On March 26, 2025, a pole camera was installed within the vicinity of the Target

Location that provided investigators with a view of the front of the Target Location. The pole

camera does not allow investigators to view the inside of the Target Location.

       23.     A review of the pole camera data showed on April 2, 2025, at approximately

11:41 a.m., a gray colored car with heavily tinted windows arrived and parked on the street in

front of the Target Location. At approximately 11:47 a.m., a black male matching the description

of J. JOHNSON exited from the front door of the Target Location and walked to the front

passenger side of the gray colored vehicle. J.JOHNSON placed his right arm into the vehicle

through the front passenger side window. J.JOHNSON then removed his right arm, and placed

his right hand into his coat pocket. J.JOHNSON continued to stand near the vehicle and talk to

the individual(s) located inside the vehicle. At approximately 11:49 a.m., J.JOHNSON removed

his right hand from his coat pocket, and placed his right arm into the vehicle through the front

passenger side window. After a brief period of time, J.JOHNSON removed his right arm from

the vehicle, and placed his right hand into his coat pocket. J.JOHNSON continued to speak with

the individual(s) located inside the vehicle. At approximately 11:50 a.m., J.JOHNSON walked

away from the vehicle in the direction of the Target Location, and the vehicle departed. Based

on my experience, J.JOHNSON’s actions were consistent with an individual involved in a hand-

to-hand drug transaction. I believe J.JOHNSON exited from the Target Location, and illegally

sold controlled substances to the individual(s) located within the vehicle.

       24.     A review of the pole camera data showed on April 11, 2025, at approximately

9:16 a.m., a red colored Honda CR-V arrived and parked on the street in front of the Target

Location. At approximately 9:17 a.m., a black male matching the description of J. JOHNSON

exited from the front door of the Target Location and walked to a green colored truck parked in


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the driveway of the Target Location. Based on a prior surveillance performed at the Target

Location, investigators identified the Ohio license plate number of the green truck to be

KJL5431. Ohio license plate number KJL5431 is registered as a green colored 2007 Chevrolet

Silverado 2500HD Truck to India Robinson at the Target Location. J.JOHNSON appeared to

unlock the front driver’s side door of the truck. J.JOHNSON opened the door of the truck, and

reached inside of the truck with both arms for a brief moment. J.JOHNSON then placed an

unknown object in the front pocket of his hooded sweatshirt. J.JOHNSON closed the truck door,

and then walked to the front passenger side of the Honda CR-V. J.JOHNSON leaned into the

CR-V through the front passenger window, and removed an unknown object from the front

pocket of his hooded sweatshirt, which he then placed inside the CR-V through the window. A

short time later, J.JOHNSON reached back into the CR-V with his right arm, and upon removing

it from the CR-V appeared to have something in his right hand. J.JOHNSON placed his right

hand inside the front pocket of his sweatshirt. J.JOHNSON backed away from the CR-V, and re-

entered the Target Location. The CR-V departed. Based on my experience, J.JOHNSON’s

actions were consistent with an individual involved in a hand-to-hand drug transaction. I believe

J.JOHNSON exited from the Target Location, obtained a quantity of illicit controlled substances

from the truck, and illegally sold the controlled substances to the individual(s) located within the

CR-V. I believe J.JOHNSON re-entered the Target Location with U.S. currency that he received

as payment for the controlled substances.

       25.     A review of the pole camera data by investigators has shown J.JOHNSON, a

black female matching the description of India Robinson, the blue colored 2011 Mitsubishi

Outlander Sport with Ohio license plate number HVF5495 registered to Robinson, and the green

colored 2007 Chevrolet Silverado 2500HD Truck with Ohio license plate number KJL5431


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registered to Robinson, consistently at the Target Location from the installation of the pole

camera on March 26, 2025 to the present. Based on this information, I believe J.JOHNSON and

Robinson reside at the Target Location.

          26.      A review of J.JOHNSON’s criminal history revealed on April 20, 2005,

J.JOHNSON was arrested in the State of Ohio for drug possession. On September 26, 2005,

J.JOHNSON pled guilty to this charge. On October 11, 2005, J.JOHNSON was arrested in the

State of Ohio for trafficking in drugs. On January 20, 2006, J.JOHNSON pled guilty to this

charge.

          Trash Pulls performed at 291 E. 208th Street, Euclid, Ohio (Target Location)

          27.      On the dates of March 25, 2025, April 1, 2025, and April 8, 2025, at the direction

of Euclid Police Department (EPD) Detectives, an EPD confidential informant utilized a trash

truck to retrieve the trash placed on the curb/tree lawn at the Target Location. After collecting

the trash, the confidential informant drove the trash to a secure location where Euclid Police

Department (EPD) Detectives took custody of it. Subsequently, EPD Detectives searched

through the trash looking for items relating to the illegal sale of controlled substances. The

following items of note were recovered from the trash.

                a. March 25, 2025: a plastic baggie with residue. A presumptive field test was not

                   performed by EPD Detectives on this baggie. This is the same type of baggie

                   seized during a later trash pull performed on April 1, 2025 that field tested

                   positive for the presence of Methamphetamine/MDMA/Ecstasy.

                b. April 1, 2025: a plastic baggie with white colored residue. A presumptive field

                   test performed by EPD Detectives on the baggie was positive for the presence of

                   Methamphetamine/MDMA/Ecstasy. The baggie was similar in size to a plastic


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                sandwich bag. Based on the white residue, I believe it was used to store

                Methamphetamine. Based on my experience and consultation with another

                investigator who regularly intercepts distributable amounts of controlled

                substances, I believe the plastic baggies recovered from the trash pulls on March

                25, 2025 and April 1, 2025 contained a distributable amount of

                Methamphetamine. I believe J.JOHNSON may have mixed the

                Methamphetamine with the Firmapress to make illicit tablets.

             c. April 8, 2025: a plastic USPS Ground Advantage parcel bag addressed to India

                Robinson at the Target Location; approximately 7-8 baggies/tear-offs with residue

                – Presumptive field tests performed by EPD Detectives on two of the baggies

                were both positive for the presence of Methamphetamine/MDMA. Laboratory

                analysis confirmed the presence of Methamphetamine residue in each of the

                baggies. I know that individuals involved in the illegal distribution of controlled

                substances will “tear off” corners of plastic baggies for the purpose of packaging

                controlled substances for illegal distribution and for easy concealment. I believe

                J.JOHNSON used the baggies for this purpose.

       28.      A review of the pole camera data revealed the following in regards to the trash

pulls referenced above. On April 1, 2025, at approximately 6:59 a.m., an individual believed to

be J.JOHNSON rolled two trash cans from the rear of the Target Location to the curb/tree lawn

of the Target Location, north of the driveway. J.JOHNSON also placed a rectangular box on the

curb/tree lawn. On April 8, 2025, at approximately 6:22 a.m., an individual believed to be

J.JOHNSON rolled a trash can to the curb/tree lawn of the Target Location. The can was




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overflowing with white trash bags. J.JOHNSON then carried two medium sized white trash

bags, two large black trash bags, and a blue rectangular object to the curb/tree lawn.

             Federal Search Warrant on April 23, 2025 at 291 E. 208 th Street, Euclid, Ohio
                                        (Target Location)

       29.     On April 14, 2025, United States Magistrate Judge James E. Grimes Jr. of the

Northern District of Ohio approved a federal search warrant for 291 E. 208 th Street, Euclid, Ohio

44123 (Target Location), case number 1:25mj2072. This warrant authorized the search of the

Target Location for evidence of violations of federal law namely Distribution and Possession

with Intent to Distribute Controlled Substances (21 USC 841(a)(1)) and Conspiracy to Distribute

and Possess with Intent to Distribute Controlled Substances (21 USC 841(a)(1), and 846).

       30.     On April 23, 2025, at approximately 6:00 a.m., investigators executed the federal

search warrant at 291 E. 208th Street, Euclid, Ohio 44123 (Target Location). Jonathan P.

JOHNSON, India Robinson, A.R. (adult child of India Robinson), and three juvenile children

were present in the Target Location. The light blue colored Mitsubishi SUV with Ohio license

plate number HVF5495, and the green colored truck with Ohio license plate number KJL5431

both registered to India Robinson were parked in the driveway of the Target Location. A search

of the truck resulted in the seizure of ten baggies of suspected controlled substances packaged for

distribution of multi-colored pills with a gross weight of 325 grams. In addition, ten zip lock

baggies of suspected controlled substances containing multi-colored powder with a gross weight

of 3,053 grams were seized from the truck. Based on my experience, the quantity of powder in

the zip lock baggies is consistent with a distribution quantity. Field tests were performed by

investigators on two of the zip lock baggies of powder that yielded a positive result for the




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presence of Methamphetamine1. Three bags labeled as Firmapress containing powder were also

located inside of the truck. A prescription bottle labeled for Jonathon JOHNSON was present

inside of the truck. Affiant knows that methamphetamine is a Schedule II controlled substance.

        31.    A search of the Target Location resulted in the seizure of a loaded handgun and an

unloaded shotgun in the closet of the first floor bedroom. Jonathan JOHNSON and India

Robinson identified this as their bedroom. There was a rifle seized from the rafters in the

basement. India Robinson stated the guns in the Target Location were hers.

        32.    India Robinson provided the following statements after being Mirandized by

investigators. The truck was registered to her, but belonged to J.JOHNSON. He purchased it.

Robinson had not been in the truck for six to seven months. Robinson was not aware of what

was located in the truck. J.JOHNSON and Robinson moved to the Target Location in January of

2024.

        33.    J.JOHNSON provided the following statements after being Mirandized by

investigators. J.JOHNSON admitted to making ecstasy pills. The zip lock bags recovered from

the truck contained a mixture of ecstasy and Firmapress. J.JOHNSON purchased the Firmapress

from Amazon. The truck is J.JOHNSON’S. He purchased it approximately two years ago.

Approximately one to two months ago, J.JOHNSON started storing the ecstasy pills and powder

in the truck. The pill press J.JOHNSON utilizes can make two thousand pills in an hour.

J.JOHNSON purchased a quarter to a half a pound of ecstasy at a time to mix with the

Firmapress in order to press the pills. All of the zip lock baggies containing the multi-colored

powder contained the ecstasy mixture. Based on my experience, it is increasingly common to




1
 Mobiledetect field test was used to test the baggies. Investigators have used this test previously
and found it to be reliable, in prior investigations.
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see methamphetamine pressed into a tablet form to make it look identical to ecstasy tablets.

Based on my experience and the positive field tests for the presence of Methamphetamine, I

believe the ten baggies of multi-colored pills and the ten zip lock baggies containing multi-

colored powder contain Methamphetamine and not ecstasy.

       34.     I therefore submit that there is probable cause to believe that Jonathan P. Johnson

committed a violation of federal law, as charged in this complaint: 21 U.S.C. §§ 841(a)(1)

(Possession with Intent to Distribute a Controlled Substance).




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                                             CONCLUSION

       35.     Affiant submits that there is probable cause to believe on April 23, 2025, in the

Northern District of Ohio that JONATHAN P. JOHNSON committed a violation of Federal

Law, namely: Possession with Intent to Distribute a Controlled Substance (Title 21, U.S.C.,

Section 841 (a)(1)). Therefore, Affiant requests that this Court authorize the requested

Complaint and Arrest Warrant for JOHNSON.

                                                     Respectfully submitted,




                                                     Tyler W. Parkison
                                                     Special Agent
                                                     DEA



Sworn to via telephone RURWKHUUHOLDEOH
HOHFWURQLFPHDQVafter submission by reliable
electronic means. Crim.Rules 4.1; 41(d)(3)
this UG day of April, 2025.

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                                                JamesE.GrimesJr.,UnitedStatesMagistrateJudge




   $SULO
________________________
Date




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